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                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE


In re:                                                       )        Chapter 11
                                                             )
W.R. GRACE & CO., et al.,1                                   )        Case No. 01-1139 (JKF)
                                                             )        Jointly Administered
                              Debtors.                       )

                                                                        Objection Deadline: September 1, 2009
                                                                           Reply Deadline: September 4, 2009
                                                                 Hearing Date: September 8, 2009 at 11:00 a.m.

    NOTICE OF HEARING ON THE PLAN PROPONENTS' MOTION IN LIMINE TO
     EXCLUDE EXPERT TESTIMONY OF ALAN WHITEHOUSE, M.D., ARTHUR
       FRANK, M.D., CRAIG MOLGAARD, PH.D., AND TERRY SPEAR, PH.D.

TO:        Parties required to receive notice pursuant to Del. Bankr. LR 2002-1.

                       The Plan Proponents filed the attached Plan Proponents' Motion in Limine to

Exclude Expert Testimony of Alan Whitehouse, M.D., Arthur Frank, M.D., Craig Molgaard,

Ph.D., and Terry Spear, Ph.D. (the “Motion”) with the United States Bankruptcy Court for the



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   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-
BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.



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District of Delaware, 824 Market Street, Wilmington, Delaware 19801 (the “Bankruptcy

Court”). A true and correct copy of the Motion is attached hereto.

        Responses to the relief requested in the Motion, if any, must be in writing and be filed

with the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern time) on September 1,

2009. At the same time, you must also serve a copy of the objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Theodore L. Freedman, Kirkland & Ellis LLP,

Citigroup Center, 601 Lexington Avenue, New York, NY 10022-4611 (fax number 212-446-

4800), Janet S. Baer, The Law Offices of Janet S. Baer, P.C., 70 West Madison Street, Suite

2100, Chicago, IL 60602 (Fax number 312-641-2165); and James E. O’Neill, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO. Box 8705, Wilmington, DE

19899-8705 (Courier 19801) (fax number 302-652-4400); (ii) counsel to the Official Committee

of Unsecured Creditors, Lewis Kruger, Stroock & Stroock & Lavan, 180 Maiden Lane, New

York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane, Morris &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax 302-

657-4901); (iii) counsel to the Official Committee of Property Damage Claimants, Scott L.

Baena, Bilzin, Sumberg, Dunn, Baena, Price & Axelrod, First Union Financial Center, 200 South

Biscayne Boulevard, Suite 2500, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Official Committee of Personal Injury Claimants, Elihu

Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-

3500 (fax 212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite

300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official Committee of

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Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue,

New York, NY 10022 (fax 212-715-8000), and Teresa K.D. Currier, Saul Ewing LLP, 222

Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

(vi) counsel to the Future Claimants’ Representative, Richard H. Wyron, Swidler Berlin Shereff

Friedman, LLP, 3000 K Street, NW, Suite 300, Washington, DC 20007 (fax 202-424-7643), and

John C. Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington,

DE 19806 (fax 302-655-4210); (vii) the Office of the United States Trustee, Attn: David

Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to

the Property Damage Future Claimants’ Representative, Karl Hill, Seitz, Van Ogtrop & Green,

P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

0606) and Alan B. Rich, Law Office of Alan B. Rich, Esq., 1201 Main Street, Suite 1910, LB

201, Dallas, TX 75202 (fax 214-749-0325).

                 IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL




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BE HELD BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED

STATES BANKRUPTCY COURT, 5414 U.S. STEEL, BUILDING, 600 GRANT STREET,

PITTSBURGH, PENNSYLVANIA 15219 ON SEPTEMBER 8, 2008 AT 11:00 A.M.

PREVAILING EASTERN TIME.


Dated: August 13, 2009

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                                 PACHULSKI, STANG, ZIEHL & JONES LLP

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